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Robert W. Keaster (SBN 1 15 847
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Attorne s for Defendants
RANG R INSURANCE COMPANY and
RIVERSTONE CLAIMS MANAGEMENT, LLC
[]N lTED STATES DISTRICT COURT

EASTERN DISTRICT OF CALIFORNIA

MONARCH PLUMBING Case No. 2106-cv-0 1 3 57-WBS-KJM
COMPANY, INC.,
NOTICE OF MOTION AND
Plaintiff, MOTION OF DEFENDANTS TO
DISMISS FIRST AMENDED
. v. COMPLAINT FOR FAILURE TO
. STATE A CLAIM
RANGER INSURANCE COMPANY,
RIVERSTONE CLAIMS [FRCP 12(b)(6)]
MANAGEMENT, LLC, and D()ES 1
through 300, DATE: December 11, 2006
TIME: 1:30 p.m. -
Defendants CTRM: 5
Assi ned to the Honorable William B.
Shub

 

 

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FAILURETO STATE A CLAIM

 

 

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1 TO ALL PARTIES AND THEIR COUNSEL OF RECORD:
2 PLEASE TAKE NOTICE that non December 11, 2006 at 1230 p.m., or as
3 soon thereafter as this matter may be heard in Courtroom 5 of the above-entitled
4 Court, located at 501 I Street, #4-200, Sacramento, California 95814, Defendant
5 RIVERSTONE CLAIMS MANAGEl\/[ENT, LLC (“RiverStone”) Will and hereby
6 does move this Court to dismiss the entire First Amended Complaint (“FAC”)
7 Without leave to amend as against RiverStone pursuant to Federal Rule of Civil
8 Procedure (“FRCP”) 12(b)(6). Defendant RANGER INSURANCE COMPANY
9 (“Ranger”) Will and hereby does move this Court to dismiss the Second Claim for
1 0 Relief for Breach of Contract Without leave to amend as against Ranger pursuant to
n 1 1 Federal Rule of Civil Procedure (“FRCP”) 12(b)(6).
1 2 MOTION TO DISMISS
1 3 RiverStone moves to dismiss MONARCH PLUMBING COMPANY, INC’s
1 4 (“Monarch”) FAC pursuant to FRCP 12(b)(6) on the grounds that the First,. Second,
1 5 Third and Fourth Claims for Relief do not assert a cognizable legal theory under
~ 1 6 Which Monarch may recover from RiverStone and_ do not allege facts sufficient to
17 state claims uponwhich relief may be granted. RiverStone is a claims agent acting
1 8 on behalf of Ranger. RiverStone is not a party to the insurance contract With
1 9 Monarch Which forms the basis of all claims for relief. Monarch has not sought to
2 0 add a new claim for relief as required by this Court’s Order dated September 23,
2 1 2006. '
2 2 Ranger moves to dismiss Monarch’s Second Claim for Relief pursuant to
2 3 FRCP 12(b)(6) on the grounds that the Second Claim for Relief does not assert a
2 4 cognizable legal theory under Which Monarch may recover from Ranger and does
2 5 not allege facts sufficient to state claims upon Which relief may be granted. The
2 6 specific grounds are as follows:
2 7 1. Monarch’s Second Claim for Relief for Breach of Contract should be
2 8 dismissed on the following grounds:
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1 ‘ Monarch’s breach of contract claim for relief does not allege a

2 breach of an express provision of the insurance contract between
3 l\/lonarch,and Ranger.

4 ~ Monarch’s breach of contract claim for relief runs counter to the
5 broad discretion given to insurers in investigating, defending

6 and settling cases. `

7 This motion is based upon this notice of motion and motion, the attached

8 memorandum of points and authorities filed herewith, the pleadings on fil_e herein

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and upon such other argument and evidence as may be presented to the Court at the

1 0 hearing of this matter.

1 1

12 DATED: November 6, 2006

1 3 ' Respectfiilly submitted,

1 4 CHARLSTON, REVICH & CHAl\/[BERLIN LLP
ROBERT W. KEASTER

1 5 YVONNE M. SCHULTE

1 6

17 By: MQ/M

, Robert W. Keaster,

1 8 . Attorneys for Ran er Insurance Company
1 9 and RiverStone C aims Management, LLC
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III.

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MEMORANDUM OF POINTS AND AUTHORITIES

I. INTRODUCTION

RiverStone has been sued solely in its capacity as the agent retained by
Ranger to administer claims on its behalf. All of the claims for relief in the FAC
arise out of an insurance policy issued by Ranger to Monarch.1 See FAC 1111 9-11,
13, 16-18, 21-22, 24-25, 27-28, 30-34. l\/bnarch has failed to state a claim against
RiverStone upon which relief can be granted because RiverStone is an agent of
Ranger and owes no duties to Monarch. RiverStone is not a party to the Ranger
Policy and cannot be held liable for any claims based upon the Ranger Policy. The
Court’s September 23, 2006 Order granting RiverStone’s Motion to Dismiss
Plaintiff’ s Original Complaint required that Plaintiff attempt to plead a new claim
for relief against RiverStone as the Court concluded_that the claims for relief
asserted in the Original Complaint failed to state a claim as a matter of law.

Monarch’s breach of contract claim fails to state a claim against Ranger for
which relief can be granted because it is not premised upon a breach of any
provision in the Ranger Policy. Monarch cannot state a claim against Ranger for
breach of contract based upon Ranger’s settlement of claims made against insureds

Monarch’s complaint should be dismissed in its entirety without leave to
amend as to RiverStone because RiverStone acted solely as the claims agent of
Ranger and owed no duties to Monarch. With respect to the claims for relief against
Ranger, Monarch’s second Claim for Relief for Breach of Contract should be

dismissed without leave to amend since it is not premised upon a breach of any

 

1 The Policy, Policy no. RP00115_20700 is a commercial packa e policy
issued by Ranger to Monarch with effective dates of December 15, 19 8 t_o _ _
December 15, 1999 (the ‘_‘Ranger Policy”). The co_m rehensive general liability
W_rtion of the Ranger Policy was attached as EXhibi_t to the Decla_ration of _

il_son B. Townsend II in su o_rt of Ranger and RiverStone’s Motion to Dismiss
Action for Failure _to State a aim filed on June 26, _200_6 (“Townsend
Declaration”). This Court found that the Ranger_Policy is unquestionabl central
to Monarch’s claims and that the Court ma consider it. Order on FRC 12(b)(6)
11\3/11§30111111*76.9 Monarch refers to the Ranger olicy throughout its FAC. See, i.e.,
- , €tC.

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provision in the Ranger Policy.
11. MoNARCH’s FACv

The allegations contained in Monarch’s FAC are almost identical to those
contained in its Original Complaint. No new claims for relief are asserted against
RiverStone and Monarch fails to allege any conduct that does not arise out of the
insurance contract.

The only new allegation contained in the Claim for Relief for Breach of
Contract against Ranger asserts that Ranger breached the implied covenant of good
faith and fair dealing by paying claimants regardless of whether Monarch or other
named insureds had liability for acts, errors and/or omissions See FAC 11 17. The
allegation that Ranger breached the implied covenant of good faith and fair dealing
is a legal conclusion and the allegations supporting sudi a conclusion do not state a
claim for breach of th_e terms of the contract between Monarch and Ranger.
Monarch fails to assert that any of the terms of the insurance contract between
Monarch and Ranger have been breached by Ranger.

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Dismissal is required under FRCP 12(b)(6) where there is a “lack of
cognizable legal theory” or "‘absence of sufficient facts alleged under a cognizable
theory.” Balistreri v. Pacl'fica Police Dept. 901 F.2d 696, 699 (9th Gr. 1988).
Dismissal should be made with prejudice if “it appears beyond doubt that the
plaintiff can prove no set of facts in support of his claim which would entitle him to
relief.” Conley v. Gz'bson (1957) 335 U.S. 41, 45-46.

IV. MONARCH FAILS TO STATE A CLAIM AGAINST RlVERSTONE

UPON WHICH RELIEF CAN BE GRANTED

Monarch’s Original Complaint was dismissed as to RiverStone because
RiverStone is not a party to the insurance contract on which all of Monarch’s claims
for relief are based. Leave to amend was granted by this Court in its order dated

September 23, 2006 because, legally speaking, the Court noted, Monarch could

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bring at least some claims against a non-insurer defendant if it alleged-additional
facts accusing it of other tortious conduct.

Although Monarch was granted a second opportunity to allege claims for
relief against RiverStone arising out of something other than the insurance contract '
between Monarch and Ranger, it has failed to do so. The FAC fails to allege any
new claims for relief against RiverStone. In addition, all of the claims for relief in
Monarch’s FAC arise out of the insurance contract between Monarch and Ranger.
Therefore, Plaintiff’ s FAC should be dismissed in its entirety with prejudice as to
RiverStone. l y
V. PLAINTIFF FAILS TO STATE A CLAIM AGAINST RANGER FOR

BREACH OF CONTRACT UPON WHICH RELIEF CAN BE

GRANTED

The Court dismissed Monarch’s Claim for Relief for Breach of Contract
against Ranger because the allegations did not address any breaches of the contract
between Monarch and Ranger; rather, Monarch alleged that Ranger acted outside of
the terms of the agreement and failed to adhere to general legal obligations not
addressed by the terms of the agreement. Monarch was granted the opportunity to
amend its complaint to state actual breaches of the terms of the agreement between
Monarch and Ranger. lt has failed to do -so.‘

Only one allegation in Monarch’s second Claim for Relief for Breach of
Contract in the FAC has been added. Specifically, the general allegations contained
in the Original Complaint are the same as the general allegations contained in the
FAC (See Complaint and FAC 11 9(a)-(g)); the allegations contained in the Claim for
Declaratory Relief in the Complaint are the same allegations contained in the Claim
for`Decla_ratory Relief in the FAC (See Complaint and FAC 11 13); the allegations
contained in the Claim for Relief for Breach of Contract in the Original Complaint
are the same allegations contained in the Claim for Relief for Breach of Contract in

the FAC with the exception of 11 17 (See Complaint and FAC 11 16(a)-(l)).

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1 The only new allegation contained in Monarch’s Claim for Relief for Breach
2 of Contract in its FAC is asserted in 11 17. Monarch attempts to allege that Ranger
3 breached the BLANKET ADDITIONAL INSURED(S) endorsement (the “AI
4 Endorsement”) [The AI Endorsement is page 44 of Exhibit A of the Townsend
2 5 Declaration].2 The AI Endorsement states, in part:
6
7 It is agreed that coverage is provided to the Additional
Insured(s) named in the above Schedule as follows:
8
A. SECTION ll - WHO IS AN INSURED,_is _
9 amended to include the person(s) or organization(s)
specificall designated as an Additi_onal Insured(s)
1 0 approved y usc A person or organization not
specificall designated an Additional Insured(s)
1 1 approved y us is afforded no coverage hereunder.
12 >l< >l< >l=
1 3 D. Coverage for the Additional In_sl_ired(s) is_ _ q
governed b the ter_ms and conditions of this policy,
1 4 including t e insuring agreements.
1 5 E. , Coverage provided for Addi_tional Insured(s) is
only to the extent of the liability for acts, errors and
1 6 omissions of the Named I_nsured as covered_u_nder
this policy. No coverage is provided for liab_ilit_y
1 7 based upon the products, acts, errors and omissions
of the Additional Insured(s).
1 8
19 >l< * >lc
2 O Monarch claims that Ranger breached the (implied covenant of good faith and
2 1 fair dealing in the) Ranger Policy when it “paid and continue[s] to pay claimants
2 2 regardless of whether MONARCH PLUl\/IBING or other Named lnsureds on their
2 3 policies had liability for acts, errors and/or omissions . . .” See FAC 11 17. Monarch
2 4
2 5 2 . . . . . .
Although the alle atioi_i is contained in the second Claim for Relief for
2 6 Breach of Contract, the a e ati_on contained in FAC 11 17 does not ass_ert that
Ran er breached a term o_f t e_insurance contract. Ins_tead, the allegation asserts
2 7 that anger breached the implied covenant of good faith and fair dealing “of” the
AI E_nc_lorsement. Notwithstanding Monarchjs failur_e to assert that-_a contract_
2 8 §rovision was breached, since the allegation is contained in the Claim for Relief for
reach of Contract, it is addressed as if it did.
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does not allege that Ranger defended or indemnified non-insureds under the Ranger
Policy issued to Monarch; rather Monarch is alleging that paying claimants, i.e.,
settling claims, without consideration of Monarch’s liability constitutes a breach of
the AI Endorsement and the Ranger Policy as a whole. Similar to all of the
allegations in the Claim for Relief for Breach of Contract in the Original Complaint,
the single new allegation contained in FAC 1[ 17 does not assert a breach of any of `
the terms of the contract between Monarch and Ranger.

The AI Endorsement amends Section ll - WHO IS AN INSURED of the
Commercial General Liability Coverage Form (“CGL Form”) to include as an
insured any person or organization specifically designated as an additional insured
and approved by Ranger. See AI Endorsement, Sect. A. [Townsend Declaration, _
Ex. A, pg. 44]. Once a person or organization is designated as an additional
insured and approved by Ranger, it is an insured under the policy issued to
Monarch. Therefore, being an “insured” under the Ranger Policy is not predicated
on liability or even that any work has been performed

“Insured” is defined in the CGL Form: “The word ‘insured’ means any
person or organization qualifying as such under WHO IS AN INSURED (Section
-II).” [CGL Form, Sect. II, attached as Exhibit A to the Townsend Declaration,
page 13]. Once a person or organization is designated as an additional insured and
approved by Ranger it is an “insured” with respect to the Commercial General
Liability Coverage because the AI Endorsement amends Section ll - WHO IS AN
INSURED to include it.

The Insuring Agreement provides that Ranger “will have the right and duty to
defend the insured against any ‘suit’ seeking [covered], damage`s. . . .r [Ranger] may
at [its] discretion investigate any ‘occurrence’ and settle any claim or ‘suit’ that may
result.” [CGL Form, Sect. I.1.a, attached as Exhibit A to the Townsend
Declaration, page 13] (emphasis added). ln addition, the AI endorsement expressly

provides that coverage for the Additional Insured(s) is governed by the terms and

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conditions of the policy, including the insuring agreements See AI endorsement,
Sect. D. [Townsend Declaration, Ex. A, pg. 44] (emphasis added). The insuring
agreements contained in the contract between Monarch and Ranger expressly
provide Ranger with the right and duty to defend any insured against a suit seeking
covered damages and with the authority and discretion to settle any claim or suit
against any insured.

Monarch does not assert that Ranger breached the AI Endorsement by
providing a defense but instead by “pay[ing] claimants regardless of whether
MONARCH PLUl\/IBING or other Named Insureds on their policies had liability. .
.” See FAC 11 17. Monarch appears to be suggesting that Ranger cannot settle
claims or suits unless Monarch is found liable for the acts, errors or omissions AI
Endorsement, Sect. E provides that the “Coverage provided for Additional
Insured(s) is only to the extent of the liability for acts, errors and omissions of the
Named Insured as covered under this policy. No coverage is provided for liability
based upon the products, acts, errors and omissions of the Additional Insured(s).”

Section E of the Al Endorsement does not remove the express grant of
discretionary power contained in the insuring agreement that provides Ranger with
the discretion to settle claims or suits against insureds Moreover, Section E `of the
AI Endorsement applies only to the coverage provided to additional insureds
Monarch does not allege that coverage was wrongfully extended to additional
insureds Monarch alleges that claimants were paid regardless of the liability of
Monarch or other named insureds Neither the AI Endorsement nor the Ranger
Policy as a whole contain any language limiting Ranger’s right to settle claims or
suits

ln fact, this type of allegation was already rejected by this Court when it
previously found that the allegation that Ranger breached the insurance contract by
“failing and reliising to evaluate*claims made on the Policies on the actual merits, or

lack of actual merits” failed to state a claim. See Complaint 11 l6(c), Grder on FRCP

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12(b)(6) Motion, *15. It is not abreach of the insurance contract for Ranger to
settle claims or suits against insureds without regard to actual liability; it is an
express grant of discretionary power found in the insuring agreement. It is settled
in California that an insurer has the right to settle claims against an insured. See
James 3 Corporation v. Track Insnrance Exchange (2001) 91 Cal. App. 4th 1093,
1103, fn. 3 (holding that the insurer’s “right to control the defense necessarily
encompasses the right to determine what measures are cost effective, bearing in
mind liability and indemnity exposure.” See also Safeco Insurance Company of
America v. The Snperior Court of Contra Costa County (1999) 71 Cal. App. 4th
782, 787, 789-790.

Since Ranger expressly retains the discretion to settle any claim or suit
against any insured,l Ranger has the discretion to settle any claim or suit prior to a
determination of liability. “ . . . [C]ourts are not at liberty to imply a covenant
directly at odds with a contract’s express grant of discretionary power except in
those relatively rare instances when reading the provision would, contrary to the
parties’ clear intention, result in an unenforceable, illusory agreement. . . . all
other situations . . . would result in the obliteration of a right expressly given
under a written contract. ” New Hampshire Ins. Co. v. Ridout Roofing Co. Inc.
(1998) 68 Cal. App. 4th 495, 501 citing Third Story Music, Inc. -v. Waits (1995)
41 Cal. App. 4th 798, 808. In Ridout Roofing, the insured similarly contended
that settlements were not based on a true assessment of liability exposure but made
predominantly to save costs of defense. It argued that the insurer placed its own
interests above that of the insured. ld. at 505.

The court held that the insured suffered no detriment from the insurer’s
settlement of the claims and that the insured did not have any right to object to a
settlement Within policy limits even when such settlements were within the
insured’s deductible The court noted that in fulfilling its obligation to defend, the

insurer was “ . . . entitled to rely on the policy terms vesting in it the discretion

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1 and power to settle claims . . .” Id. at 506-507.
2 Monarch has failed to'state an actual breach of any of the terms of the
v3 insurance contract between Monarch and Ranger. Therefore, the second Claim for
4 Relief for Breach of Contract should be dismissed in its entirety as to Ranger.
5 VI. CONCLUSION
6 l For the foregoing reasons, Defendant RiverStone respectiiilly requests this
7 Court to dismiss Plaintiff` s FAC in its entirety with prejudice pursuant to Rule
8 12(b)(6). Defendant Ranger respectliilly requests this Court to dismiss the second
9 Claim for Relief for Breach of Contract in Plaintiff" s FAC with prejudice pursuant
1 0 to Rule 12(b)(6).
1 1
12 DATED: November 6, 2006
1 3 Respectfully submitted,_
1 4 CHARLSTON, REVICH & CHAMBERLIN LLP
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1 6
l 7 By: %a/a//“L{/m [&@¢.2,/‘<3\
Robert W. Keaster,
1 8 Attorneys for Ran er Insurance Company
l 9 and RiverStone C aims Management, LLC
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